                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                ST. JOSEPH DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
              Plaintiff,                        )
                                                )
              v.                                )           No. 12-00363-19-CR-SJ-DGK
                                                )
SCOTT M. PARKER,                                )
                                                )
              Defendant.                        )

                           ACCEPTANCE OF GUILTY PLEA AND
                               ADJUDICATION OF GUILT

       Pursuant to the Report and Recommendation of United States Magistrate Judge John T.

Maughmer (Doc. 671), to which there has been no timely objection, the plea of guilty by the

Defendant to Counts One (lesser included) and Two of the Superseding Indictment filed on

November 15, 2013, is now accepted and the Defendant is adjudged guilty of such offenses.

Sentencing will be set by subsequent order of the Court.


                                                     /s/ Greg Kays
                                                    GREG KAYS, CHIEF JUDGE
                                                    UNITED STATES DISTRICT COURT

Dated: December 11, 2015




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